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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

WASTE MANAGEMENT OF LOUISIANA, LLC                           CIVIL ACTION NO. 2:11-cv-02405

VERSUS                                                       JUDGE KURT D. ENGELHARDT

RIVER BIRCH, INC., HIGHWAY 90, LLC,                          MAGISTRATE ROBY
FREDERICK R. HEEBE, and ALBERT J.
WARD, JR.


         MOTION AND INCORPORATED MEMORANDUM FOR LEAVE TO
             FILE JOINT REPLY MEMORANDUM IN SUPPORT OF
               MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants, Frederick R. Heebe, Albert J. Ward, Jr., River Birch, Inc., and Highway 90,

LLC, respectfully move the Court for leave to file the attached joint reply memorandum in support

of their motion for partial summary judgment.

       This memorandum is brief, only 6 pages, and it will assist the Court in deciding this motion.

       WHEREFORE, Defendants respectfully move that the Court grant this motion and

permit the attached reply memorandum to be filed into the record.

                                                  Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon all counsel of record this

16th day of December, 2016, by e-filing the same into the CM/ECF system, which will

automatically deliver a copy of same to all counsel.


                                                       /s/ Thomas M. Flanagan




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